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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES

Date: September 7, 2022        Time: 2 Hours                 Judge: ALEX G. TSE
Case No.: 21-cv-08458-LB       Case Name: Jackson v. Target Corporaton

Pro Se Plaintiff: Bryon Jackson
Attorneys for Defendant: David Roth and Gabriella Pedone

Deputy Clerk: Stephen Ybarra                     Court Reporter: Not Reported


                                    PROCEEDINGS

SETTLEMENT CONFERENCE – held via Zoom

Notes: Case did not settle.
